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 4
     Attorney for Defendant
 5   ANDRE KOVACS
 6
                          IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,
                                                           Case No. 2:10-CR-00437-11 WBS
11                    Plaintiff,

12   v.
                                                           STIPULATION AND [PROPOSED] ORDER
13                                                         TO ADVANCE JUDGMENT AND
     ANDRE KOVACS, et al.                                  SENTENCING
14
                      Defendant.
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16
17
18                                                STIPULATION
19             Plaintiff, United States of America, by and through its counsel, Assistant United States
20   Attorney Jill Thomas, and defendant, Andre Kovacs, by and through his counsel, Erin J. Radekin,
21   agree and stipulate to vacate the date set for judgment and sentencing, November 5, 2012 at 9:30
22   a.m., and to advance judgment and sentencing until October 9, 2012 at 9:30 a.m., in the courtroom of
23   the Honorable William B. Shubb.
24             The reason for this request is that Ms. Radekin has been notified by the clerk that this date is
25   agreeable to the Court and Mr. Kovacs would prefer to be sentenced on the first date that is agreeable
26   to all parties involved. The Court is advised that Ms. Thomas and Probation Officer Scott Storey
27   concur with this request, and Ms. Thomas has authorized Ms. Radekin to sign this stipulation on her
28   behalf.
               Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
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 1   IT IS SO STIPULATED.
 2   Dated: September 14, 2012                              BENJAMIN WAGNER
                                                            United States Attorney
 3
                                                     By:           /s/ Jill Thomas
 4                                                          JILL THOMAS
                                                            Assistant United States Attorney
 5
 6   Dated: September 14, 2012                                   /s/ Erin J. Radekin
                                                            ERIN J. RADEKIN
 7                                                          Attorney for Defendant
                                                            ANDRE KOVACS
 8
 9
                                                   ORDER
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            For the reasons set forth in the accompanying stipulation and declaration of counsel, the
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     judgment and sentencing date of November 5, 2012 at 9:30 a.m. is VACATED and the judgment and
12
     sentencing date in the above-captioned matter is set on October 9, 2012 at 9:30 a.m.
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     IT IS SO ORDERED.
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     Dated: September 14, 2012
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